Case 3:17-cv-07210-SK Document 414-2 Filed 12/01/23 Page 1 of 10




                           Exhibit A
    Case 3:17-cv-07210-SK Document 414-2 Filed 12/01/23 Page 2 of 10




U.S. Department of Education

Office of Federal Student Aid


Fiftieth Monthly Compliance Report in response to
ECF 130, Manriquez et al. v. Cardona, Case No. 17-cv-
07210-SK, U.S. District Court for the Northern
District of California




                                           December 1, 2023




                                   1
         Case 3:17-cv-07210-SK Document 414-2 Filed 12/01/23 Page 3 of 10




                                      Introduction and Summary

         Pursuant to the Court’s Order of October 24, 2019, ECF No. 130, the U.S. Department of

Education (the “Department”) through its Federal Student Aid office (“FSA”) submits its fiftieth

monthly status report regarding its attempts to comply with the preliminary injunction in this

case, see ECF No. 60. That injunction, as amended on June 19, 2018, ECF No. 70, and clarified

on August 30, 2018, ECF No. 89, prevents the Department from collecting relevant student loan

debts from members of the class that has been certified in this case.1 See also Order Granting

Mot. for Class Cert., ECF No. 96.

         The Department is maintaining substantial compliance with the preliminary injunction by

immediately placing newly identified potential class members in the appropriate repayment

status to stop debt collection and maintaining potential class members in appropriate repayment

status on an ongoing basis (e.g., forbearance).

         The Department has continued sending borrower defense decision letters to certain

borrowers as described in prior reports. To ensure that such borrowers who have been identified

as potential class members in previous reports are kept in forbearance while federal loan

servicers finish processing their adjudicated claims, the Department will continue to include

these borrowers on the first tab of the attached spreadsheet as potential class members until their

borrower defense claims are fully closed out and the changes to their federal loans are processed.

         As in prior reports, this report includes a spreadsheet containing a list of the currently

known potential class members, which the Department will separately move to file under seal

due to the personally identifying information contained therein. For each potential class


1
 Because the borrowers covered by the preliminary injunction are co-extensive with the borrowers covered by the
order certifying the class in this case, references to class members in this Report refer to borrowers covered by the
preliminary injunction. See Order Certifying the Class, ECF No. 96; Amended PI Order ¶¶ A-C.

                                                           2
        Case 3:17-cv-07210-SK Document 414-2 Filed 12/01/23 Page 4 of 10




member, the spreadsheet includes information the Court has requested about the Department’s

attempts to comply with the preliminary injunction. Throughout the spreadsheet, “1” is used to

answer “Yes,” and “0” is used to answer “No.” The spreadsheet contains three sections. The

first section (the first 571 pages) lists each potential class member and then provides answers for

the Court’s first, second, and seventh questions. The second section (pages 572 through 576)

lists the subset of potential class members who were impacted by the Department’s non-

compliance. For these impacted borrowers, the spreadsheet provides answers to the Court’s

third, fourth, fifth, and sixth questions. Finally, the third section (the last page) contains an index

of shorthand terms and abbreviations used throughout the spreadsheet.

       The Department continues to take every reasonable effort to ensure compliance with the

Court’s injunction, including an ongoing process of monitoring and verifying borrower defense

applications.

   1. Defendants’ progress toward identifying which of the 74,781 potential class
      members are class members

       The potential class listed in the attachment currently consists of 78,685 borrowers, a net

increase of 211 borrowers from the number reported in the November 1, 2023 Compliance

Report. This change includes the addition of 211 borrowers to the potential class. The additions

to the potential class were the result of activity such as new borrower defense claims received by

FSA, newly opened cases that were previously incomplete (e.g., claims initiated by borrowers,

but not fully documented with supporting information or evidence), borrowers with only FFEL

loans who recently consolidated into Direct Loans, and FSA’s ongoing data validation and

verification efforts. As previously indicated, the number of potential class members will

continue to be dynamic as new borrowers apply and validation and verification continues.




                                                  3
         Case 3:17-cv-07210-SK Document 414-2 Filed 12/01/23 Page 5 of 10




         Of the 78,685 potential class members listed in the attachment, FSA has determined that

238 borrowers are currently confirmed class members (e.g., submitted a successful job

placement rate (“JPR”) claim against a Corinthian (“CCI”) school and have outstanding Direct

Loans). 2 This reflects no change from the November 1, 2023 report.

         At this time, there are 6,045 still unconfirmed potential class members (a net increase of

202 unconfirmed potential class members from last month’s report). On June 1, 2022, however,

the Department announced it will discharge all remaining federal student loans borrowed to

attend any campus while it was owned or operated by CCI from its founding in 1995 through its

closure in April 2015.3 This includes borrowers who have not yet applied for a borrower defense

discharge. Consequently, because all remaining class members and unconfirmed potential class

members will receive relief according to the announcement, FSA has ceased its ongoing efforts

to determine the class status of the remaining still unconfirmed potential class members.

    2. The repayment status of each potential and confirmed class member

         As stated in prior reports, the Department continues to maintain all identified potential

class members in forbearance, stopped collections or a similar repayment status, unless a

particular borrower has proactively opted out of that status.



2
  In total, 72,402 of the 78,685 potential class members listed in the attachment are not confirmed class members
because they no longer have pending borrower defense claims that potentially meet the criteria. This includes
borrowers who have been adjudicated for 100% relief (as described in prior reports, such borrowers no longer
qualify for membership in a class consisting of individuals “who have not received a full discharge of associated
student loan debt and a return of any money the Department collected on the loan,” ECF No. 96); borrowers who
have been notified that they have been approved for 100% percent borrower defense relief; borrowers whose CCI
JPR application has been determined ineligible because they did not attend the right program, did not attend during
the right time period, or otherwise did not successfully fill out their application form; and borrowers whose borrower
defense application was approved for a non-JPR claim. As previously noted, FSA will keep these borrowers on the
list of potential class members on tab 1 until their borrower defense claims have been fully processed by the
servicers
3
 See https://www.ed.gov/news/press-releases/education-department-approves-58-billion-group-discharge-cancel-
all-remaining-loans-560000-borrowers-who-attended-corinthian-colleges

                                                          4
        Case 3:17-cv-07210-SK Document 414-2 Filed 12/01/23 Page 6 of 10




       The first section of the spreadsheet attachment provides the repayment status of each

potential class member. For each potential class member not in forbearance or stopped

collection status, the spreadsheet indicates the reason, such as being in an alternative status that

is similar to forbearance (e.g., a $0/month income-driven repayment plan or in-school deferment

status). The abbreviations and shorthand terms used on this portion of the spreadsheet are

defined in the third section of that spreadsheet.

3.     Whether each potential and confirmed class member was erroneously taken out of
       forbearance or stopped collections status and whether the correct status has been
       restored

       FSA has continued its efforts to reduce the overcounting of impacts to potential class

members. As explained in prior reports, FSA removed those borrowers from the impacted lists

whose only impacts occurred (1) prior to the date they filed their borrower defense application or

(2) within the reasonable amount of time it takes for FSA to process the borrower defense

application.

       FSA is continuing the process of confirming which borrowers in the impacted categories

experienced debt collection activities caused by noncompliance with the injunction and

identifying and removing those borrowers who only experienced debt collection activities

unrelated to non-compliance with the injunction.

       All 347 borrowers whom FSA has identified at some point as having been erroneously

taken out of forbearance or stopped collections status are currently in the correct repayment

status. There is a net increase of 125 borrowers since the November 1, 2023 Report. The issue

impacted borrowers at multiple servicers. The servicers sent the billing notices in error and

contrary to the Department’s express instructions that potential and confirmed class members

should remain in forbearance. This was done as a result of various situations such as borrowers



                                                    5
        Case 3:17-cv-07210-SK Document 414-2 Filed 12/01/23 Page 7 of 10




applying for IDR, school enrollment updates and processing errors. All of these newly identified

borrowers are currently in the correct repayment status and FSA will request refunds if any

impacted borrower made payments.

       For each potential class member impacted by the Department’s non-compliance, the

second section of the spreadsheet attachment indicates whether the borrower was in an erroneous

payment status and whether the status has been corrected.

4.     Whether each potential and confirmed class member made a payment or multiple
       payments due to Defendants’ negligence, and whether refunds have been issued

        FSA has identified 338 borrowers who made one or more voluntary payments, a net

increase of 50 borrowers from the November 1, 2023 Report.

       As discussed in prior compliance reports, the Department did not request that the U.S.

Department of the Treasury process refunds for some of the potential class members identified at

that time as having made voluntary payments because these borrowers appear to have made

payments for reasons unrelated to the incorrect payment due notices they were sent, and so

refunding these borrowers would lead to unintended consequences and potential financial harm.

(See Nov. 2019 Report at 6-7 and Dec. 2019 Report at 10).

       Additionally, FSA has identified 20 borrowers who may have already been issued

refunds for payments they made prior to the last Report, but who are still voluntarily making

payments on their student loans. This is no change from the November 1, 2023 Report. In light

of these borrowers’ decision to continue making payments, FSA has categorized those borrowers

on the spreadsheet as “During the time that the CARES Act protections were in place, borrower

submitted additional payments.”




                                                6
        Case 3:17-cv-07210-SK Document 414-2 Filed 12/01/23 Page 8 of 10




       For each potential class member impacted by the Department’s non-compliance, the

second section of the spreadsheet attachment indicates whether the borrower made one or more

payments and refunds have been issued.


5.     Whether each potential and confirmed class member was erroneously subjected to
       wage garnishment or tax offset due to the Defendants’ negligence, and whether
       refunds have been issued

       FSA has not identified any borrower who was subjected to tax offsets for this reporting

period, but it did identify 1 borrower who was subjected to wage garnishment in the past month,

a net increase of 1 from the November 1, 2023 Report. The borrower has already been provided

a refund for the involuntary payment. The employer garnished wages in error and contrary to the

Department’s express instructions that wages should not be garnished.


6.     Whether each potential and confirmed class member was subject to adverse credit
       reporting due to Defendants’ negligence, and whether each false credit report has
       been corrected

        FSA has completed or initiated credit corrections for all 10 borrowers listed in the

spreadsheet as having been subject to adverse credit reporting, no change from the November 1,

2023 Report.

7.     Whether each potential and confirmed class member has received the revised notice
       of Defendants’ non-compliance, to be approved by the Court

       FSA completed distribution of the Court-approved notice to the members of the class as

of December 31, 2019. In order to prevent any borrower confusion, FSA did not send class

notifications to those borrowers who received separate notice of claim adjudication on December

11, 2019, and therefore did not have pending borrower defense applications at the time the

revised notices were sent.




                                                7
            Case 3:17-cv-07210-SK Document 414-2 Filed 12/01/23 Page 9 of 10




           For each potential and confirmed class member, the first section of the spreadsheet

attachment (starting on page 1) indicates whether the borrower was sent the revised notice.

8.         Whether Defendants have established a hotline and webpage specifically for
           Corinthian borrowers

           The Department’s communications team has revised the StudentAid.gov website to

include prominently placed links regarding this case on the website’s home page (specifically in

its “Announcement” and “Popular Topic” sections).4 Additionally, highlighted and simplified

language has been included on the linked webpage5 within the website. As previously reported,

these improvements were made on October 21, 2019. The communications team will continue to

improve the website’s content regarding this case and for Corinthian borrowers.

           Additionally, the Department’s communication team has improved the existing borrower

defense telephone hotline at 1-855-279-6207, to include a targeted greeting, a dedicated menu

option regarding this case, and current targeted information for customer service representatives

to answer general questions regarding this litigation, as well as the adjudication and litigation

class member notifications disseminated in December 2019.

9.         Any other information relevant to the Defendants’ compliance with the preliminary
           injunction

           As reflected in past reports, on March 27, 2020 the CARES Act became law which,

among other things, suspended all payments due for Department-held loans and extended the

waiver of interest accrual on those loans. Pursuant to the Fiscal Responsibility Act of 2023

(signed into law June 3, 2023), the waivers and modifications of statutory and regulatory

provisions that allowed the payment pause and suspension of interest accrual ceased to be



4
    https://studentaid.gov/
5
    https://studentaid.gov/announcements-events/corinthian#preliminary-injunction

                                                          8
           Case 3:17-cv-07210-SK Document 414-2 Filed 12/01/23 Page 10 of 10




effective 60 days after June 30, 2023. Pub. L. No. 118-5, §271, 137 Stat. 10 (2023). Student

loan interest resumed starting September 1, 2023, and payments for borrowers not covered by the

preliminary injunction in this case resumed starting in October 2023.6

           The Department remains focused not only on remediating any harm to any and all

borrowers that have been affected, but also on making strategic improvements to our operational

program management and loan servicing oversight, control, and communication frameworks.

The Department will continue its exhaustive efforts to verify, validate, and report on progress to

ensure compliance with the terms of the Court’s Order and reestablish the trust and confidence of

our borrowers and the public.




6
    https://studentaid.gov/announcements-events/covid-19

                                                           9
